         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-2988
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KELVIN KENARD SLATON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Suwannee County.
Mark E. Feagle, Judge.


                        August 27, 2024

PER CURIAM.

    AFFIRMED.

ROWE, KELSEY, and LONG, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Kelvin Kenard Slaton, pro se, Appellant.

Ashley Moody, Attorney General, Tallahassee, for Appellee.




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